      Case 25-01177-5-PWM                      Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                                  Page 1 of 25




Fill in this information to identify the case:

Debtor name         Casey Farms, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)    25-01177-5
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 29, 2025                    X /s/ William C. Casey
                                                           Signature of individual signing on behalf of debtor

                                                            William C. Casey
                                                            Printed name

                                                            Partner
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
     Case 25-01177-5-PWM                                         Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                                                                     Page 2 of 25

Fill in this information to identify the case:

Debtor name           Casey Farms, LLC

United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)              25-01177-5
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           490,434.16

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           490,434.16


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           479,056.76


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                690.56

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           120,233.50


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $             599,980.82




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
       Case 25-01177-5-PWM                    Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                                         Page 3 of 25

Fill in this information to identify the case:

Debtor name         Casey Farms, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)       25-01177-5
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Southern Bank - grading and hauling
          3.1.     account                                           Checking                              6426                                     $6,176.12




          3.2.     Southern Bank - hay account                       Checking                              2961                                     $2,708.04



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $8,884.16
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Casey Farms, LLC                                                           Case number (If known) 25-01177-5
             Name

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.

          General description                                           Net book value of      Valuation method used    Current value of
                                                                        debtor's interest      for current value        debtor's interest
                                                                        (Where available)

28.       Crops-either planted or harvested

29.       Farm animals Examples: Livestock, poultry, farm-raised fish

30.       Farm machinery and equipment (Other than titled motor vehicles)
          See Exhibit A                                                        $481,550.00     Comparable sale                   $481,550.00



31.       Farm and fishing supplies, chemicals, and feed

32.       Other farming and fishing-related property not already listed in Part 6

33.       Total of Part 6.                                                                                                   $481,550.00
          Add lines 28 through 32. Copy the total to line 85.

34.       Is the debtor a member of an agricultural cooperative?
             No
             Yes. Is any of the debtor's property stored at the cooperative?
                       No
                       Yes

35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

36.       Is a depreciation schedule available for any of the property listed in Part 6?
             No
             Yes

37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
             No
             Yes

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                     page 2
      Case 25-01177-5-PWM                     Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                              Page 5 of 25

Debtor       Casey Farms, LLC                                                              Case number (If known) 25-01177-5
             Name


      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                 page 3
       Case 25-01177-5-PWM                                 Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                                                Page 6 of 25

Debtor          Casey Farms, LLC                                                                                    Case number (If known) 25-01177-5
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $8,884.16

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                    $481,550.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $490,434.16           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $490,434.16




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
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EXHIBIT A
Equipment/Vehicle/Livestock                            Owner                      Lienholder (and additional notice)     Value
3 cows                                                 Casey Farms                                                       $        4,500.00
3 calves                                               Casey Farms                                                       $          750.00
2 steers                                               Casey Farms                                                       $        3,000.00
1996 TRMO trailer VIN: 1PTF7CTH8T9006847               Casey Farms (Title)                                               $        7,950.00
1989 International truck VIN: 1HTLAZPM0KH617039        Casey Farms (Title)                                               $       29,900.00
1990 Ford Road Truck VIN: 1FDXK84A0LVA23274            Casey Farms (Title)                                               $        5,000.00
2004 Ford MP VIN:1FMSU45P24EA55886                     Casey Farms (Title)                                               $        4,250.00
3155 JD tractor                                        Casey Farms                                                       $       20,000.00
Kuhn FC3560TCR Hay cutter                              Casey Farms                Ag Direct (Farm Credit Services)       $       15,000.00
Kubota hay rake RA 1042T                               Casey Farms                Kubota Credit Corporation              $        9,000.00
JD 348 Square hay baler                                Casey Farms                                                       $        9,500.00
Jueshler acumulator                                    Casey Farms                                                       $        6,500.00
Kuhn hay tie grappler                                  Casey Farms                                                       $        5,500.00
210 bale hay grappler                                  Casey Farms                                                       $        6,000.00
JD 210 Disk                                            Casey Farms                                                       $        3,500.00
New Holland 555 skid steer loader                      Casey Farms                                                       $        5,000.00
2008 New Holland L185 skid steer loader                Casey Farms                Ascentium Capital                      $       16,500.00
1989 Kenworth road tractor                             Casey Farms                                                       $        9,500.00
53 ft trailmobile equipment trailer                    Casey Farms                                                       $       12,000.00
25 ft equipment trailer                                Casey Farms                                                       $        3,500.00
40 ft flat bed trailer                                 Casey Farms                                                       $        3,500.00
(3) 40 ft hay trailer                                  Casey Farms                                                       $        3,000.00
JD 997 zero turn mower                                 Casey Farms                                                       $       15,000.00
New Holland 479 hay cutter                             Casey Farms                                                       $        1,500.00
CAT 220H telahandler                                   Casey Farms                                                       $       30,000.00
JD 450 M round hay baler                               Casey Farms                John Deere Financial                   $       25,000.00
King 14 ft. Disk                                       Casey Farms                                                       $          400.00
Gallagher cattle seales                                Casey Farms                                                       $        2,000.00
Pasture rake                                           Casey Farms                                                       $        1,000.00
2022 New Holland 3417 Hay Tedder Serial # YLZDT0365    Casey Farms                CNH Industrial Capital                 $        9,000.00
1989 John Deere 4960                                   Casey Farms                Truist Bank                            $       53,000.00
Reynolds 10 yard Pan                                   Casey Farms                                                       $       10,000.00
Reynolds 6 yard Pan                                    Casey Farms                                                       $        3,500.00
1995 Mack Dump Truck VIN: 1M2P289C9VM023499            Casey Farms                                                       $       15,900.00
1990 Eager Beaver 20 ton Trailer                       Casey Farms                                                       $        4,500.00
1998 Kaufman equipment trailer                         Casey Farms                                                       $       12,500.00
1987 Cat 120G Grader                                   Casey Farms                                                       $       34,100.00
1985 Cat 3123 BL Excavator                             Casey Farms                                                       $       12,500.00
1995 32 ft. East Dump Trailer (3 axels)                Casey Farms                                                       $       13,500.00
walk behind vibratory roller                           Casey Farms                                                       $        2,750.00
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skid steer mount trencher                                 Casey Farms                                              $          2,500.00
skid steer pallet fork, hydraulic                         Casey Farms                                              $          1,850.00
skid steer grapple bucket                                 Casey Farms                                              $          1,500.00
1987 KW Trailer VIN: 1XKAD29X7HJ338915                    Casey Farms                                              $          5,000.00
2007 Harley Davidson Fat Boy VIN: 1HD1BX5157Y061251       Christopher Casey (Title)                                                      $ 3,175.00
1997 dodge 1500 Truck VIN: 1B7HF13Z6VJ550788              Casey Farms (not operable)                               $           200.00
2014 Ford Escape VIN: 1FMCU0GX3EUC97698                   Christopher Casey (bare legal title)                                           $ 6,000.00
1987 Dixie Boat Works HIN: NC 0609 BM                     Christopher Casey (not operable)                                               $ 100.00
1999 Yamaha SUV Jet Ski HIN: NC 5272 WG                   Christopher Casey (not operable)                                               $ 100.00
1995 JD 4410 Compact Tractor with Loader Serial #:
LV4410H240845                                             Casey Farms                                              $      15,500.00
2007 Backyard Trailer VIN: 1B9BF16237C569576              Christopher Casey (Title)                                                      $ 5,000.00
2002 Team Spirit Trailer VIN: 1T9LC20222E661627           Christopher Casey (Title)                                                      $ 2,400.00
2005 Ford F150 VIN: 1FTPW14515KD33229                     William Casey (Title)                                                          $ 5,700.00
1990 Bayliner 19ft. Ski Challenger HIN: USHA51TAL990      William Casey                                                                  $ 4,200.00
1997 Peterbilt 378 Road Tractor VIN: 1XPFDT8X3VD420948    Casey Farms                            Truist Bank       $      25,500.00
TOTAL                                                                                                              $     481,550.00
      Case 25-01177-5-PWM                            Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                                       Page 9 of 25

Fill in this information to identify the case:

Debtor name         Casey Farms, LLC

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)             25-01177-5
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ascentium Capital                            Describe debtor's property that is subject to a lien                   $11,536.68                $15,000.00
      Creditor's Name                              2008 New Holland L185 Skid Steer Loader
      ATTN: Officer/Managing                       Value: Comparable Sale
      Agent
      23970 Hwy 59 N
      Kingwood, TX 77339
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2022                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4477
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   CNH Industrial Capital                       Describe debtor's property that is subject to a lien                     $9,100.00               $11,200.00
      Creditor's Name                              2021 New Holland 3417 Hay Tedder
      ATTN: Officer/Managing                       Serial #: YLZDT0365
      Agent
      P. O. Box 1700
      New Holland, PA 17557
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing # 20220084650M
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      6/2022                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
       Case 25-01177-5-PWM                           Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                                       Page 10 of
                                                                      25
Debtor      Casey Farms, LLC                                                                      Case number (if known)      25-01177-5
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Truist Bank                                 Describe debtor's property that is subject to a lien                     $396,119.36        $320,471.20
      Creditor's Name                             All of Debtor's now owned and hereafter
                                                  acquired and wherever located, Equipment
                                                  including all Accessions thereto, and all
                                                  manufacturer's warranties, parts and tools
      Attn: Mr. Chad Fluno                        therefor, Farm Products including all crops
      PO Box 1847                                 grown, growing, or to be grown
      Wilson, NC 27894-1847
      Creditor's mailing address                  Describe the lien
                                                  UCC Filing # 20130011472B, 20160010116K,
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2/2013                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0006
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Truist Bank                                 Describe debtor's property that is subject to a lien                      $42,333.68         $62,000.00
      Creditor's Name                             1989 John Deere 4960 Tractor
      Attn: Mr. Chad Fluno                        Serial #: RW4960P001492
      PO Box 1847                                 Value: Comparable Sale
      Wilson, NC 27894-1847
      Creditor's mailing address                  Describe the lien
                                                  UCC Filing # 20230043117E
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/2023                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0008
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Truist Bank                                 Describe debtor's property that is subject to a lien                      $19,967.04         $25,500.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 3
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                                                                      25
Debtor      Casey Farms, LLC                                                                      Case number (if known)      25-01177-5
            Name

      Creditor's Name                             1997 Peterbilt 378 Road Tractor
      Attn: Mr. Chad Fluno                        VIN: 1XPFDT8X3VD420948
      PO Box 1847
      Wilson, NC 27894-1847
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0007
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $479,056.76

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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                                                                      25
Fill in this information to identify the case:

Debtor name        Casey Farms, LLC

United States Bankruptcy Court for the:          EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)           25-01177-5
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $690.56       $0.00
          Wayne County Tax Collector                           Check all that apply.
          Attn: Officer/Managing Agent                            Contingent
          P.O. Box 1495                                           Unliquidated
          Goldsboro, NC 27533                                     Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2024                                                 Property Taxes

          Last 4 digits of account number 1195                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15,611.71
          Capital One                                                            Contingent
          Attn: Officer/Managing Agent                                           Unliquidated
          P. O. Box 71087                                                        Disputed
          Charlotte, NC 28272-1087
                                                                             Basis for the claim: Credit card purchases.
          Date(s) debt was incurred
          Last 4 digits of account number 1574                               Is the claim subject to offset?           No   Yes


3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $17,970.38
          John Deere Financial                                                   Contingent
          Attn: Officer/Managing Agent                                           Unliquidated
          P.O. Box 5328                                                          Disputed
          Madison, WI 53705-0328
                                                                             Basis for the claim: Line of credit
          Date(s) debt was incurred
          Last 4 digits of account number 4109                               Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 3
                                                                                                               34799
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Debtor       Casey Farms, LLC                                                                       Case number (if known)            25-01177-5
             Name

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $23,953.13
          Nutrien Ag Solutions, Inc.                                          Contingent
          ATTN: Officer/Managing Agent                                        Unliquidated
          5296 Harvest Lake Dr.                                               Disputed
          Loveland, CO 80538
                                                                           Basis for the claim: Line of credit
          Date(s) debt was incurred
          Last 4 digits of account number 5097                             Is the claim subject to offset?         No     Yes


3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $27,368.64
          Truist Bank                                                         Contingent
          Attn: Mr. Chad Fluno                                                Unliquidated
          PO Box 1847                                                         Disputed
          Wilson, NC 27894-1847
                                                                           Basis for the claim: Credit card purchases.
          Date(s) debt was incurred
          Last 4 digits of account number 1070                             Is the claim subject to offset?         No     Yes


3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $27,329.64
          Truist Bank                                                         Contingent
          Attn: Mr. Chad Fluno                                                Unliquidated
          PO Box 1847                                                         Disputed
          Wilson, NC 27894-1847
                                                                           Basis for the claim: Credit card purchases.
          Date(s) debt was incurred
          Last 4 digits of account number 5805                             Is the claim subject to offset?         No     Yes


3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,000.00
          USDA Farm Service Agency                                            Contingent
          Attn: Officer/Managing Agent                                        Unliquidated
          4407 Bland Rd., Suite 175                                           Disputed
          Raleigh, NC 27609
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       U.S. Attorney
          310 New Bern Avenue, Suite 800                                                            Line     3.6
          Federal Building
                                                                                                           Not listed. Explain
          Raleigh, NC 27601-1441

4.2       U.S. Attorney General
          Attn: Managing Agent                                                                      Line     3.6
          950 Pennsylvania Ave. NW
                                                                                                           Not listed. Explain
          Washington, DC 20530-0001


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                         690.56
5b. Total claims from Part 2                                                                           5b.    +     $                     120,233.50

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                        120,924.06


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
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            Name




Official Form 206 E/F            Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 3 of 3
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                                                                  25
Fill in this information to identify the case:

Debtor name       Casey Farms, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)     25-01177-5
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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                                                                  25
Fill in this information to identify the case:

Debtor name      Casey Farms, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)   25-01177-5
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Christopher Alan            266 Casey Dairy Rd.                                       Truist Bank                        D   2.3
          Casey                       Goldsboro, NC 27534                                                                          E/F
                                                                                                                                   G




   2.2    Christopher Alan            266 Casey Dairy Rd.                                       Truist Bank                        D   2.4
          Casey                       Goldsboro, NC 27534                                                                          E/F
                                                                                                                                   G




   2.3    Christopher Alan            266 Casey Dairy Rd.                                       Truist Bank                        D   2.5
          Casey                       Goldsboro, NC 27534                                                                          E/F
                                                                                                                                   G




   2.4    William C. Casey            316 Casey Dairy Rd.                                       Truist Bank                        D
                                      Goldsboro, NC 27534                                                                          E/F       3.5
                                                                                                                                   G




   2.5    William C. Casey            316 Casey Dairy Rd.                                       Nutrien Ag Solutions,              D
                                      Goldsboro, NC 27534                                       Inc.                               E/F       3.3
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Casey Farms, LLC                                                        Case number (if known)   25-01177-5


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     William C. Casey         316 Casey Dairy Rd.                                 Capital One                        D
                                   Goldsboro, NC 27534                                                                    E/F   3.1
                                                                                                                          G




  2.7     William C. Casey         316 Casey Dairy Rd.                                 Ascentium Capital                  D   2.1
                                   Goldsboro, NC 27534                                                                    E/F
                                                                                                                          G




  2.8     William C. Casey         316 Casey Dairy Rd.                                 CNH Industrial                     D   2.2
                                   Goldsboro, NC 27534                                 Capital                            E/F
                                                                                                                          G




  2.9     William C. Casey         316 Casey Dairy Rd.                                 Truist Bank                        D   2.3
                                   Goldsboro, NC 27534                                                                    E/F
                                                                                                                          G




  2.10    William C. Casey         316 Casey Dairy Rd.                                 Truist Bank                        D   2.4
                                   Goldsboro, NC 27534                                                                    E/F
                                                                                                                          G




  2.11    William C. Casey         316 Casey Dairy Rd.                                 Truist Bank                        D   2.5
                                   Goldsboro, NC 27534                                                                    E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Casey Farms, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         25-01177-5
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/25
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $36,236.80
       From 1/01/2025 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $273,727.13
       From 1/01/2024 to 12/31/2024
                                                                                                   Other


       For year before that:                                                                       Operating a business                                 $42,705.00
       From 1/01/2023 to 12/31/2023
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $8,575. (This amount may be adjusted on 4/01/28
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $8,575. (This amount
    may be adjusted on 4/01/28 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was              Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    Narron Wenzel, P.A.
                102 S. Third St.
                P.O. Box 1567
                Smithfield, NC 27577                                 Payment of Attorney Fees                                  8.7.2024                $2,623.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
    within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
    Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
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 Debtor        Casey Farms, LLC                                                                         Case number (if known) 25-01177-5



    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Truist Bank                                    XXXX-0561                    Checking                 9/30/2024                             $0.00
                 Attn: Mr. Chad Fluno                                                        Savings
                 PO Box 1847
                                                                                             Money Market
                 Wilson, NC 27894-1847
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?

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 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       William Charles Casey
                    316 Casey Dairy Rd.
                    Goldsboro, NC 27534-7828

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 29, 2025

 /s/ William C. Casey                                                   William C. Casey
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Partner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 7
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          Case 25-01177-5-PWM                     Doc 31 Filed 05/29/25 Entered 05/29/25 17:41:18                                    Page 25 of
                                                                   25
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Eastern District of North Carolina
 In re       Casey Farms, LLC                                                                                 Case No.
                                                                              Debtor(s)                       Chapter       12

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $              *See Below
             Prior to the filing of this statement I have received                                        $              *See Below
             Balance Due                                                                                  $              *See Below

      * On or about August 7, 2024 the Debtor deposited $2,623.00 into the firm's Trust Account. The sum of $2,623.00 was disbursed to the
      undersigned's firm for payment of pre-petition fees, leaving the balance in Trust of $0.00, to be applied to post-petition services as approved by
      the Court.

2.    $ 278.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor             Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Such representation customarily included in Chapter 12 representation in the EDNC.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the Debtor in adversary proceedings or any task not customarily included in Chapter 12
              representation in the EDNC.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

                                                                              /s/ David F. Mills
     Date                                                                     David F. Mills 18326
                                                                              Signature of Attorney
                                                                              Narron Wenzel, P.A.
                                                                              P.O. Box 1567
                                                                              102 S. Third St.
                                                                              Smithfield, NC 27577
                                                                              919-934-0049 Fax: 919-938-1058
                                                                              dmills@narronwenzel.com
                                                                              Name of law firm
